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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

JOHN G. CARPENTER, JR.                                 *
                                                       *
                Plaintiff,                             *
v.                                                     *       Civil Action No. 1:17-cv-00176
                                                       *
UNITED STATES OF AMERICA,                              *
                                                       *
                Defendant.                             *


                                                ANSWER

        COMES NOW the Defendant, United States of America, by William J. Powell, United

States Attorney for the Northern District of West Virginia, and Erin Carter Tison, Assistant

United States Attorney for the Northern District of West Virginia, and for its Answer to the

Complaint filed against it states as follows:

                                         FIRST DEFENSE

     1. This Paragraph sets forth Plaintiff’s description of the nature of the action; to the extent

that this is a factual averment, the United States does not have sufficient information to form a

belief, and any such factual averment is denied. To the extent that this Paragraph contains

conclusions of law, no response is required. By way of further response, the United States avers

that this Action is brought pursuant to the Federal Tort Claims Act, 28 U.S.C. 2674 et seq.

     2. This Paragraph contains a conclusion of law to which no response is required.

     3. This Paragraph contains a conclusion of law to which no response is required.

     4. The United States admits that Jodie Howell, M.D. was a licensed physician practicing in

the state of West Virginia at the times relevant to the Complaint, and was Board Certified by the

American Board of Family Practice.




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   5. This Paragraph contains a conclusion of law to which no response is required. To the

extent a response is required, the United States of America admits that Jodie Howell, M.D. was

an employee of deemed federal health center Clay-Battelle Health Services Association, and was

acting in her scope of employment, and therefore is deemed a federal employee for the purposes

of the Federal Tort Claims Act. Any remaining averments or characterizations are denied.

   6. The United States of America admits that Plaintiff was a patient of Clay-Battelle Health

Services Association, and was treated by Jodie Howell, M.D.

   7. The United States of America repeats as though fully set forth herein each Answer to the

allegations set forth in the foregoing paragraphs.

   8. The United States of America admits that Plaintiff reported to his healthcare providers on

April 6, 2016 that he began experiencing back pain related to his pulling a muscle while

changing a tire on or about April 4, 2016. The United States of America admits that Plaintiff

was treated at Clay-Battelle Health Services Association for skin lesions where a culture showed

MRSA growth, for which Plaintiff was prescribed antibiotic treatment. The United States of

America admits that, on April 6, 2016, Plaintiff was examined by Jodie Howell, M.D., who

noted that Plaintiff had a regular pulse of 100 and that Plaintiff had a history of diabetes with

neuropathy, hyperlipidemia and hypertension. The United States of America also admits that

Plaintiff had a large muscle spasm in the left upper lumbar region that was larger than Dr.

Howell’s fist, tender to palpation but without spiny tenderness, and normal deep tendon reflex.

Plaintiff’s allegation regarding what should have been known is a legal conclusion to which no

response is required. To the extent there are any remaining factual averments in this Paragraph,

they are denied.




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    9. This Paragraph contains conclusions of law to which no response is required. To the

extent that a response is required, the United States of America admits only that Jodie Howell,

M.D. did not order a sedimentation rate nor a CT scan on April 6, 2016, nor did Dr. Howell, on

that date, transfer Plaintiff to a hospital. It is specifically denied that Dr. Howell failed to order a

CBC with differential; Plaintiff’s CBC with differential taken on April 6, 2016 was in the normal

range. It is denied that Dr. Howell did not acknowledge Plaintiff’s lesions, to the contrary, Dr.

Howell noted that, upon examination, the lesions were healing well. It is admitted that, on April

6, 2016, Dr. Howell prescribed cyclobenzaprine HCL 10 MG every 8 hours as needed X 60, no

refill, and hydrocodone-acetaminophen, 5-325 MG every six hours, as needed, X 40, no refill. It

is denied that Dr. Howell “sent Plaintiff home on Neurontin”; instead, Dr. Howell continued

Plaintiff’s Neurontin treatment for his diabetic neuropathy. The United States of America is

without information sufficient to form a belief as to Plaintiff’s alleged pain, and therefore that

averment is denied. To the extent there are any remaining factual averments in this Paragraph,

they are denied.

    10. Upon information and belief, Plaintiff presented to WVU hospital with a chief concern of

high blood sugar and altered mental status. Upon information and belief, Plaintiff was

discharged from WVU hospital with discharge diagnoses of epidural abscess (embolic) of spinal

cord, hypokalemia, quadriplegia following spinal cord injury, MRSA bacteremia, morbid

obesity, insulin dependent diabetes mellitus, and essential hypertension; Plaintiff had resolved

hospital problems of diabetic ketoacidosis, hypokalemia, pneumonia, and hyperglycemia. The

United States of America is without sufficient information to form a belief as to Plaintiff’s

remaining factual averments in this Paragraph, and therefore they are denied.




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   11. This Paragraph contains conclusions of law to which no response is required. To the

extent that a response is required, any averments are denied.

   12. This Paragraph contains conclusions of law to which no response is required. To the

extent that a response is required, any averments are denied.

   13. This Paragraph contains conclusions of law to which no response is required. To the

extent that a response is required, any averments are denied.

   14. The United States of America repeats as though fully set forth herein each Answer to the

allegations set forth in the foregoing paragraphs.

   15. The United States of America admits that Jodie Howell, M.D. was hired by Clay-Battelle

Health Services Association, and her job duties included providing medical care to patients. Any

remaining averments or characterizations are denied.

   16. This Paragraph contains conclusions of law to which no response is required. To the

extent that a response is required, any averments are denied.

   17. This Paragraph contains conclusions of law to which no response is required. To the

extent that a response is required, any averments are denied.

   18. This Paragraph contains conclusions of law to which no response is required. To the

extent that a response is required, any averments are denied.

   19. This Paragraph contains conclusions of law to which no response is required. To the

extent that a response is required, any averments are denied.

   20. This Paragraph contains conclusions of law to which no response is required. To the

extent that a response is required, any averments are denied.




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    WHEREFORE, the United States of America denies that Plaintiff has the right to any relief

and respectfully requests that the Complaint be dismissed with prejudice and that it be awarded

its costs and such other relieve as the Court may deem just.

                                      SECOND DEFENSE

        The United States of America through its employees, agents, and servants, acted at all

relevant times with due care and diligence, and therefore, the United States could not have

breached any actionable duty owed to Plaintiff.

                                       THIRD DEFENSE

        If the United States of America was negligent, which is specifically denied, the negligence

of other parties contributed to causing the Plaintiff’s injuries, damages and losses and any

recovery, must be proportionately reduced.

                                      FOURTH DEFENSE

        If the United States of America was negligent, which is specifically denied, such

negligence is not the cause in fact or proximate cause of the alleged damages suffered by the

Plaintiff.

                                       FIFTH DEFENSE

        If the United States of America was negligent, which is specifically denied, the Plaintiff

assumed the risk of any injury.

                                       SIXTH DEFENSE

        If the United States of America was negligent, which is specifically denied, under the

Federal Tort Claims Act, the United States of America may be held liable only in the same manner

and to the same extent as a private individual under like circumstances.

                                     SEVENTH DEFENSE



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       The Plaintiff’s injuries and damages were caused, in whole or in part, by the Plaintiff’s

negligence.

                                     EIGHTH DEFENSE

       The United States of America is not liable for attorney’s fees except as provided for by the

Federal Tort Claims Act. 28 U.S.C. § 2678.

                                      NINTH DEFENSE

       The United States of America is not liable for interest nor punitive damages as a matter of

law. 28 U.S.C. § 2674.

                                      TENTH DEFENSE

       The Plaintiff’s claim for damages is limited to the damages recoverable under the FTCA.

                                    ELEVENTH DEFENSE

       The Plaintiff’s recovery of damages, if any, is subject to the limitations imposed by West

Virginia law.

                                    TWELFTH DEFENSE

       Any recovery by Plaintiff is subject to the availability of appropriated funds. 42 U.S.C.

§233(k).

                                  THIRTEENTH DEFENSE

       To the extent that any of Plaintiff’s claims were not the subject of an administrative tort

claim, this Court lacks jurisdiction over those claims. 28 U.S.C. § 2675(a).

                                  FOURTEENTH DEFENSE

       The damages sought by Plaintiff are limited to the amount set forth in her administrative

claim. 28 U.S.C. § 2675(b).

                                   FIFTEENTH DEFENSE



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       The Plaintiffs have no right to a jury trial. 28 U.S.C. §2402.

                                   SIXTEENTH DEFENSE

       The United States of America asserts that it has, or may have, additional affirmative

defenses which are not known to United States of America at this time, but which may be

ascertained through discovery. The United States of America specifically preserves these and

other affirmative defenses as they are ascertained through discovery.




                                             Respectfully submitted,


                                             WILLIAM J. POWELL
                                             UNITED STATES ATTORNEY

                                     By:     /s/ Erin Carter Tison
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                               CERTIFICATE OF SERVICE

       I, Erin Carter Tison, hereby Certify that on December 18, 2017, a true and correct copy of

the foregoing Answer has been filed with the Court’s CM/ECF system which will provide a copy

to all counsel of record.




                                            By:    /s/ Erin Carter Tison
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